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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OFL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON?” in the
GULF OF MEXICO, on APRIL 20, 2010 CIVIL ACTION NO. 2:10-MD-02179

SECTION: J

THIS DOCUMENT RELATES TO: JUDGE BARBIER
All Cases MAG. JUDGE SHUSHAN
(including 10-2771)

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MEMORANDUM IN SUPPORT OF MOTION FOR CERTIFICATION
OF INTERLOCUTORY APPEAL UNDER 28 USC §1292(b)

INTRODUCTION

Plaintiffs and Claimants respectfully request that this Court certify for interlocutory
review its Order granting the Motion to Establish Account and Reserve for Litigation Expenses
(Doc. 5274). The undersigned respectfully submit that the Court’s order on this issue “involves
a controlling question of law as to which there is substantial ground for difference of opinion and
... and immediate appeal from the order may materially advance the ultimate termination of the
litigation.” 28 U.S.C. §1292(b).

Plaintiffs and Claimants are filing the accompanying Motion for Certification for
Interlocutory Review of this Honorable Court’s January 18, 2012 Order in which it ordered, inter
alia:

“that Defendants, or any agent or representative acting on a Defendant’s behalf, shall

withhold and deposit an amount equivalent to six percent (6%) of the gross monetary

settlements, judgments or other payments made on or after December 30, 2011, by or on
behalf of one or more Defendants to any other plaintiff or claimant-in-limitation who has
had, currently has, or may hereinafter have, a suit or claim-in-limitation pending in these

MDL proceedings (with the exception of settlements, judgments or other payments to the
United States), into a court-supervised escrow account, in order to establish a fund from
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which common benefit litigation fees and expenses may be paid, if and as awarded by the
Court, at an appropriate time, pursuant to procedures to be determined by future order of
the Court. Specifically, this held back requirement applies to all actions filed in or
removed to federal court that have been or become a part of the MDL, whether or not a
motion to remand has been filed, and to state court plaintiffs represented by counsel who
have participated in or had access to the discovery conducted in this MDL.””

These Plaintiffs and Claimants respectfully request that this Honorable Court certify this

Order for interlocutory appeal.

ARGUMENT

I, The Court’s Determination to establish a 6% holdback is an important
controiling issue of law.

The Court’s order to establish a 6% holdback is an important controlling issue of law. “A
question of law may be deemed ‘controlling’ if its resolution is quite likely to affect the further
course of the litigation, even if not certain to do so.” Sokaogon Gaming Entm't Corp. v. Tushie-
Montgomery Assocs., 86 F.3d 656, 659 (7" Cir. 1996).

a. Order Violates the Purpose and Spirit of the OPA

Under the Oil Pollution Act of 1990 (“OPA”), 33. U.S.C. Sec 2701 et seq., a “Responsible
Party” is required to establish and advertise a claims process that, if successful, provides parties
the opportunity to avoid lengthy litigation and ensures fair compensation to those harmed by an
oi] spill. 33 U.S.C. § 2714(b). In turn, the OPA requires claimants to present their claims of
harm to the Responsible Party before they can resort to litigation, id. § 2713(a), and provides 90
days during which the parties must seek to resolve their claims before they may go to court. Id.
§ 2713¢(d). When an RP denies lability for a claim or the parties are unable to reach agreement
within 90 days, the claimant may either present his or her claim in federal court or to the

National Pollution Funds Center (“NPFC”) for payment from the Oil Spill Liability Trust Fund

* Court’s Order, at p. 3. (Doc. #5274; January 18, 2012)
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(“Fund”). Id. § 2713(c), (d). The OPA thus establishes an extra-judicial resolution opportunity
that is, in important ways, different from the usual tort law process.

The OPA thus reflects a congressional response after the Exxon Valdez disaster and ensuing
litigation, to give those harmed by an oil spill two separate opportunities to avoid litigation: a
statutorily-mandated claims process with the RP, with incentives for both parties to resolve
claims efficiently rather than facing costly litigation that may reach the same result, and, for
those whose claims are not resolved, the option of pursuing an administrative resolution in the
NPFC. OPA provides that this last choice — submitting a claim with the NPFC rather than filing
suit — is entirely the claimant’s.’

Withholding a portion of the settlement funds provided to a claimant who affirmatively
declines to come before this Court by initiating or joining litigation, with the funds to be
deposited in a litigation related fund, is a signtficant alteration of the policies reflected in the
OPA. OPA is designed to provide a means for claimants to be fully compensated by the polluter
or the Fund without resorting to costly and time-consuming litigation; the Order here would
nevertheless tax litigation costs against those claimants. By reaching into the claims process and
explicitly diminishing the amount possible to be realized by claimants, the withholding vitiates a
significant benefit of avoiding litigation.

The order here may also upset the incentives that Congress created for claimants and
Responsible Parties to resolve their claims through private settlements. Under the system of
settlement incentives created under the OPA, just as a Responsible Party knows that it will

ullimately have to reimburse the NPFC for payments made out of the Fund on proper claims that

*« The Principal concept of this bill is to provide ready and complete compensation for party suffering damages
from the discharges of oi] or hazardous substances. The Fund is to provide compensation for damage claims fully
and promptly.” Senate Report 101-94: Committee on Environment and Public Works, Sec. 10 (July 28, 1989)
(emphasis supplied).
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the Responsible Party refuses to settle, a claimant knows that if a Responsible Party offers the
claimant his or her full losses, the claimant will do no better by pursuing the claim with the
NPFC or in court. If a Responsible Party’s offer to pay full losses is automatically reduced,
claimants will have reason to reject an otherwise sufficient offer and pursue payment from the
Fund. The Fund may then require more time to process and pay meritorious claims, and would
ultimately have to proceed against the Responsible Party to obtain reimbursement for those
payments, Such increased transaction time and cost are inconsistent with the goals of OPA.

b. Lack of Robins Dry Dock Standing for Many Plaintiffs Defeats the
Rationale of the PSC’s Holdback Request.

As even this Court recognized, in its August 26, 2011 Order Denying Defendants’
Motion To Dismiss A Master Complaint, ? most businesses and people economically impacted
by the oil spill lack standing under general maritime law under the seminal case of Robins Dry
Dock & Repair v. Flint, 275 U.S. 303, 48 S.Ct. 134, 72 L.Ed, 290 (1927)" Any fair reading of
the pleadings in this case, even the PSC’s holdback motion, leads inextricably to the conclusion
that the vast majority of work performed by the PSC has been focused on upcoming the
February 27, 2012 three-phase trial, based on maritime law: first, events leading up to and
including the explosion on April 20, 2010; second, source control and oil discharge
quantification; and third and finally, remaining liability issues, including dispersants and

cleanup.

AF

3 “Order And Reasons Granting In Part, Denying In Part Defendants’ Motions to Dismiss the B1 Master Complaint
(covering claims for private or “non-governmental economic loss and property damages”); Doc. 3830; August 26,
2011.

Available on line on Pacer at:

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* "This circuit and others have interpreted Robins Dry Dock to mean that there can be no recovery for economic
losses caused by an unintentional maritime tort absent physical damage to property in which the victim has a
proprietary interest.” Amoco Transport Company v. 5/5 Mason Lykes, 768 F.2d 659, at 666 (5 Cir., 1985)

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While the work preparing for that trial may benefit some who actually have standing
under general maritime law (as articulated by Robins Dry Dock and this Court’s August 26,
2011 ruling regarding the B-1 Master Complaint), that work does not, and cannot, benefit most.
Those businesses and people economically impacted by the oil spill, but who lack physical
impact to their property or who are not commercial fishermen, have only OPA claims against
the “Responsible Party”, i.e., BP? And those claimants are simply following the requirements
of OPA and the directives of this Court to “present” their claims to BP (as the Responsible
Party) through the GCCF.° Until presentment occurs, those claimants cannot even legally file
suit against BP.’

Even then, it is questionable whether any of the evidence developed by the PSC will be
relevant to those OPA claims since OPA is essentially a strict liability statute. As this Court
has recognized, “OPA allows recovery for economic losses “resulting from or due to” the oil
spill, regardless of whether the claimant sustained physical damage to a “proprietary interest”
and OPA allows recovery for “damages equal to the loss of profits or impairment of earning
capacity due to the injury, destruction, or loss of real property, or natural resources, which shall

be recoverable by any claimant.” 33 U.S.C. § 2702(b)(2)(E) (emphasis added).” ’

> See the August 26, 2011 Order, regarding the Master Complaint, at pgs. 25-26.

° Id, at pg. 26: “Claimants’ maritime causes of action against a Responsible Party are displaced by OPA, such that
all claims against a Responsible Party for damages covered by OPA must comply with OPA’s presentment
procedure.”

?See the Memorandum in Opposition to PSC’s Motion, filed collectively by numerous attorneys on behalf of
hundreds of Plaintiffs, detailing how BP is the “Responsible Party” in this matter and the steps for presentment
to it; (Doc. 4682 pgs. 3~ 5; November 21, 2011)

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®See the August 26, 2011 Order regarding the B-1 Master Complaint; Doc. 3830; p. 21.
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Clearly, the advantages of OPA and the lack of standing under Robins Dry Dock are
why most claimants economically impacted by the oil spill are seeking resolution of their
claims primarily from the GCCF instead of suing BP, Halliburton, Cameron, or the many
others whom the PSC has spent millions of dollars and countless hours pursuing. As stated
by this Court, “one major remedial purpose of OPA was to allow a broader class of claimants
to recover for economic losses than allowed under general maritime law.”” Further, this Court
recognized that the intent of OPA is “to encourage settlement and reduce the need for
litigation.’ It would be ironic, as well as grossly unfair and contrary to prior
pronouncements of this Court, for claimants whose only possible recovery for their economic
damages is through OPA and the GCCF to have those recoveries reduced for work that even

this Court has ruled cannot benefit them. This Court’s Order is also incorrect for this

additional reason.

This order is a controlling issue of this matter as it will limit the opportunites for
individuals to hire attorneys that have been working with the GCCF because if these attorneys
have filed a case for another client, then those prospective clients would be liable for the 6 %
holdback. It is also a controlling issue in that this holdback will be a factor in the clients’
decision as to whether or not to accept an offer from the GCCF.

Il. There is Substantial Ground for Disagreement with the Court’s Ruling
a. Inconsistent Facts
There can be little question that Plaintiffs have substantial grounds to disagree with the

court’s order. First, the order contains a contradiction within itself. The court has excluded state

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court cases, wherein plaintiff's counsel has or had no other cases in this MDL and who have not
participated in or had access to the discovery conducted in the MDL, from paying the hold-back
but if a claimant has retained an attorney that has just one case filed with the Court, those
claimants must still pay the hold-back. The Court should look to whether or not the claimants
have filed their claims with the court not whether their attorney has any client filed with the
court.

Second, even for clients whose attorney out of an abundance of caution filed some of
their cases in federal court and did not file other cases in federal court, the cases not pending in
federal court should not have this hold-back apply to them, as they have not received a benefit
from the PSC. The PSC has not held any meeting for the public to attend to learn what they are
doing or the course of the litigation as they see it, the PSC has not shared any work-product with
any of the plaintiffs and the PSC has had little to no communication with the claimant’s counsel.

The PSC itself states that, “The only work entitled to compensation from a common

benefit fund is work that has demonstrably provided a benefit to all plaintiffs, or to a defined

group of plaintiffs as a whole — the common benefit work.”'' The PSC fails its own test. It has
not — it cannot -— articulate that it has performed work that has “demonstrably provided a
benefit” to claimants represented by undersigned counsel who resolve their claims under the Oil
Pollution Act (OPA) through negotiations with the Gulf Coast Claims Facility (GCCF). In
particular:

° The PSC cannot take credit for creation of the GCCF Fund since the GCCF was
created and publicly announced on June 16, 2010," before the Judicial Panel on

Multidistrict Litigation issued its transfer order, consolidating this MDL in this

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PSC's Status Report and Memorandum in Suppart of Mation to Establish Account & Reserve. Doc. 4507-1
Fact Sheet: Claims and Escrow, The White House, Office of the Press Secretary, June 16, 2010 available at
http:/Awwew,whitchouse,gov/the-press-office/fact-sheet-claims-and-escrow (last visited November 20, 2011).

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Court on August 8, 2010"? and before the PSC was appointed by this Court on
October 11, 2010."

° The PSC cannot take credit for the creation of the GCCF Fund since the GCCF
was established due to BP’s designation as a “Responsible Party” under the Oil
Pollution Act of 1990 (OPA).

° The PSC cannot take credit for payments from the GCCF Fund to undersigned
counsel’s clients since those payments are case specific, not in any way related to
or dependent upon any of the work done by the PSC here.

The linchpin of the common benefit doctrine is that when work is done for the benefit of others,
it is patently unfair to give the beneficiaries of that work “a free ride.” But nowhere in the PSC’s
motion is there any evidence, even indication, of how the work done which, to date, appears to
have been focused primarily on general liability and environmental damages — not individual
economic damages -- has been offered to or used by any of undersigned counsel’s clients. In
fact, ihe PSC’s motion indicates just the opposite. In footnote 14, the PSC admits that it “will
not disclose the names of the experts retained nor the specific studies and projects the PSC has
undertaken to establish the extent and duration of environmental and ecological damages.”"°
Despite this admission, the PSC nevertheless seeks payment for that work from claimants in the
GCCF who have never even seen, much less used, that work. There certainly could be no

“demonstrable benefit” provided by that work when it is being held under such obviously tight

Wraps.

3 United States Judicial Panel on Multi-District Litigation, Transfer Order for MDL No. 2179 to the Eastern
District of Louisiana, (re: Oil Spill by the Oil Rig Deepwater Horizon in the Gulf of Mexico on April 20, 2010 (10-
02179); Doc, R. 1,

8 Pretrial Order #8 — Appointment of PSC and Plaintiff Executive Committee, /n re: Oi! Spill by the Oil Rig
Deepwater Horizon in the Gulf of Mexico on April 20, 2070 (10-02179), Doe. R. 506.

is PSC Status Report and Memorandum in Support of Motion to Establish Account and Reserve, Doc.
R.4507-1 at note 14.
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a. Many Plaintiffs Explicitly Renounced Use of Or Reliance upon PSC Work Product,
so the Latex Gloves Case is Nonanaloguos.

Many of the Plaintiffs’ participation in the federal litigation is limited strictly to filing claims
in the Limitation Proceeding, i.e., they filed no suits against BP or the other parties and their only
recourse for full compensation is still with the GCCF. When these Plaintiffs did file protective
claims in the Limitation Proceeding they did so by very clearly stating that it was their intent to
pursue OPA claims through the GCCF and would do so using their own work product and would
not rely upon the PSC’s work product. For example, Doc. 290 states clearly that the claimants
“object to this [Limitation] process” and “specifically state that this limited appearance by
them” did not evidence an agreement that the Limitation Proceeding was “appropriate or legally
cognizable” or that their response “served as acquiescence to the jurisdiction of this court to
litigate their claims.’””® Those claimants’ specifically reserved any and all rights they had against
all parties. Further, they specifically objected to the jurisdiction of this court to adjudicate their
claims until they “/filed/] a lawsuit in the venue of Claimants’ choosing.”

Of critical important for purposes of the PSC’s holdback request, those claimants
“specifically reserve[d] the right to pursue resolution of all claims it may have under al!
appropriate channels, including, but not limited to, the Gulf Coast Claims Facility.” Anticipating
such a holdback request, these claimants “similarly providef{d] notice that Claimants have
engaged the undersigned attorneys to prosecute Claimants’ claims, and Claimant’s undersigned
attorneys have been and shall continue to prosecute Claimant’s claim(s) with their own

independent judgment and work product. Claimant hereby does not adopt the Amended Master

*® See Rec. Doc. 290 “Objection To Jurisdiction, Objection To Process, Other Objections, Reservation Of Rights,
Notice Of Claims, And Original Answer Of Claimants ” in In Re: The Complaint and Petition of Triton Asset Leasing
GmbH, et al., Civil Action No, 10-2771

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Complaint pending against all Defendants, and objects to any party other than the Undersigned
Attorneys prosecuting Claimants’ claims without Claimants’ written authorization and consent.”
The PSC has not, and cannot, controvert this intent or the fact that the claimants have
relied on no work product produced by the PSC to resolve claims in the GCCF. Further, ata
minimum, the PSC cannot even show that any of its work product was even offered to others
to help them resolve their claims. Such statements like the one in Doc. 290 are directly
contrary to those in J re Latex Gloves Products Liability Litigation.'’ (As pointed out by BP
in footnote 2 of its memorandum,"* the Court in Latex Glove extended its jurisdiction over
state court plaintiffs but only to those who were represented by plaintiff attorneys who had
purposely availed themselves of work product produced in the MDL. In this situation, just
the opposite occurred where attorneys have specifically disavowed work product produced in
the MDL to resolve their claims.)
ec, The PSC Misled the Public in Regards to Filing in the Limitation Proceedings.
When the PSC first published information regarding the Limitation Proceedings, it provided
answers and advice to claimants as why filing in the Limitation was necessary and the
ramifications for filing or in the alternative not filing in the Limitation, Both the PSC’s FAQ
portion of their website and the FAQ of the website set up about the limitations explicitly state
there is would not be a fee associated with filing in the Limitation.

“Is there a fee to file a Short Form? Answer: No” [Question 15],
hitp:/Avww. oilspillcourtease.com/commonlyaskedquestions.aspx

“Is there a cost filing the short form? No”, “Do I need a lawyer to file? No”
http://bpmdl2179.com/lrequently-asked-questions

7 9003 U.S. Dist. LEXIS 18118 (E.D. Pa. Sept. 5, 2003).

' Rec. Doc, 5044-1, “Memorandum In Support Of Expedited Motion For Clarification and Reconsideration Of The
Court’s December 28, 2011 Order And Reasons As To The PSC’s Motion To Establish Account And Reserve For
Litigation Expenses”

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An advertisement that ran for the Limitations Proceedings is attached hereto as Exhibit “A”. An
example of how the public interpreted these messages is best exemplified by the op-ed article in
the Times Picayune by James Gill entitled “Big Fish in BP Claims Reel in Suckers” published on
January 25, 2012. A copy is attached as exhibit “B”. In this editorial, Mr. Gill explains how the
attorneys appointed by the Court “suckered” the public into joining the litigation, at no benefit to
them, “All they were preserving was their right to help make the trial lawyers rich.”

d. These Plaintiffs Have Not Benefitted From Any Work by the PSC.

The PSC has not shared any work product with the Becnel Law Firm (the undersigned
counsel for these Plaintiffs) or numerous other firms representing claimants in the GCCF
and/or plaintiffs in litigation that could help it in its negotiations with the GCCF or in any
other aspect of this case; it has not received any updates from the PSC in any manner. It
did receive one letter from liaison counsel, informing it that its assistance was unwanted
and that it would receive no common benefit work from the PSC. The liaison counsel went
so far as even to send this email to others, specifically the accountant, Mr. Philip Garrett.
(Please see Exhibit C, a copy of the May 17, 2011 email.)

The PSC has not taken any action that led to the formation of a common fund or the
GCCF, increased the previously established settlement fund, or protected this fund. In
essence, the PSC is attempting to have all claimants that also are plaintiffs in this matter
pay for things that benefitted no one but itself in this matter, The PSC has issued no
reports or given anyone a voice to object to its intentions and plans. It is inconceivable that
in a case where a party has already been deemed to be at fault and established a $20 billion

compensation fund, that a PSC could have already spent (as over two months ago) almost

$12 million in still uncompleted trial preparation alone.

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The Becnel Law Firm always had at least one representative attend each Coast Guard
hearing to record and analyze the testimony and evidence. The PSC rarely, if ever, attended
any of these hearings. This is just one example of how the PSC has failed to act fiscally
responsible for the class. Being named a PSC member does not give a person or firm carte
blanche to spend money and incur unneeded costs. The PSC has a fiduciary duty to the rest of
the litigants to incur only necessary costs. Most of the discovery in this case had already been
done by other entities, both public and private and published in voluminous reports: the United
States Coast Guard; the Presidential Commission; the Department of the Interior; Mineral
Management Service (and its successors - the Bureau of Ocean Energy, Management and
Enforcement; and the Bureau of Safety and Environmental Enforcement); over a dozen
congressional agencies; and numerous other federal and state agencies as well as numerous
private scientific and engineering foundations.

The PSC boasts of its 15,500 square foot warehouse with 70 computers and fulltime
staffing. The only claimed benefit is that it allows the PSC “to be more effective and more
efficient; facilitate interaction; promote the exchange of ideas among the group; yield better
insight and strategies, and enable document reviews to maintain the pace required by the

»!? While a document depository might confer a benefit on the litigants, it

Court's schedule.
does not help the GCCF claimants. The PSC claims that “the experience of centralizing
common benefit work at the Depository has created an esprit d’corp and positive moraie that
has made the relocation sacrifice more than worthwhile”. Id. These Plaintiffs and GCCF

claimants should not be forced to contribute hundreds of millions of dollars to boost the PSC’s

sense of conviviality and morale.

 psc’s Memorandum in Support of its Motion to Establish Account and Reserve for Litigation Expenses by
Plaintiffs’ Co-Liaison Counsel, Doc. 4507-1, at p. 9; November 7, 20112;
Available on Pacer at: https://ecf.laed.uscourts.gov/doc1/08515536226 .

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Further, the only claims made by the PSC for financial hardship are underwhelming at
best, especially since the substantial financial contributions required for such litigation were
known from the start of the case. In particular, the PSC has argued that “340 lawyers from
ninety different firms .., contributed over $11.54 million in out-of-pocket held and shared
expenses for the common benefit.” However, the PSC never indicated how many of the
hours or how much of the costs related to GCCF issues. To illustrate the incredibly aggressive
nature of the holdback, simply consider the amount that could be placed into escrow from the
GCCF payments alone. Between October 3, 2011 and January 3, 2012, the GCCF paid out
$521 million or about $174 million a month. If the GCCF continues to pay claims at that rate,
the escrow account could have received about $10.4 million dollars a month from GCCF. In
little more than a month, the $11.6 million in claimed out-of-pocket expenses would be
entirely covered by the GCCF payments alone. If the PSC prevails in this litigation, a holdback
from these Plaintiffs and Claimants and those situated likewise will not be necessary to
provide more than adequate compensation to the PSC.

Ili. An Immediate Appeal from the Order Establishing an Account and Reserve
would Materially Advance the Ultimate Resolution of this Litigation.

Finally, certification of the questions presented “may materially advance the ultimate
termination of the litigation.” 28 U.S.C. §1292(b). Courts across the country have recognized
that this statutory element is satisfied where, as here, “immediate appeal would conserve judicial
resources and spare the parties from possible needless expense if it should turn our that [the
district court’s] rulings are reversed.” APCC Servs., Inc. v. AT&T Corp., 2997 F. Supp 2d 101,
109 (D.D.C. 2003). Indeed, interlocutory appeal is especially useful and appropriate in a multi-

district litigation such as this, since “the certification procedure of 28 U.S.C. §1292(b) was

“Id; at pg. 9.
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intended specifically to expedite the disposition of ‘big’ cases.” Zenith Radio Corp.,v.
Matsushita Electic 494 F, Supp. 1190, 1244 (E.D. Pa. 1980).

Here, due to this order, the GCCF has withheld monies intended to compensate people for
their lost income. While this order was amended to exclude claimants who only filed with the
GCCF, it still penalizes claimants that hired an attorney if that attorney has other cases filed in
the Court. The order should only apply to Claimants who received a benefit from the MDL.

This order should be applied only to claimants who properly filed claims in a case either directly
into this MDL or one that was transferred or removed to this MDL. Claimants that filed in the
Limitation should also be excluded from this Order as they were misled by the PSC in that there
would be no fee associated with filing in the Limitation.

The determination of this issue will help clients in determining whether or not they should
accept an offer made to them by the GCCF because without this determination, a client cannot
determine the proper amount they will receive and hence whether the offer is one they should
accept,

CONCLUSION

For the reasons stated above, undersigned counsel and the plaintiffs they represent
respectfully request that the Court certify for the Fifth Circuit’s interlocutory review under 28
U.S.C. §1292(b) the question of the appropriateness of the hold-back of 6% for people who settle

their claims with the GCCF.

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Date: January 26, 2012 Respectfully submitted,

/s/ Daniel E. Beenel, Jr.

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing pleading has been served on All Counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
No. 12, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System,
which will send a notice of electronic filing in accordance with the procedures established
in MDL 2179, on this 26th day of January, 2012.

/S/ Daniel E. Becnei, Jr.
Daniel E. Becnel, Jr.

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